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                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF TEXAS

                                  GALVESTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §   CRIMINAL NO. G-95-10 (04)
                                               §   CIVIL ACTION NO. G-05-319
CLIFFORD ALEXANDER LEWIS                       §

                                    FINAL JUDGMENT

       Pursuant to this Court’ s Opinion and Order of even date herewith, the Motion (Instrument

no. 502) of Clifford Alexander Lewis, brought pursuant to 28 U. S.C. § 2255, is DISMISSED

as time-barred.

       THIS IS A FINAL JUDGMENT.

       DONE at Galveston, Texas, this 17th day of June, 2005.
